                                                                                   Case 3:16-cv-02058-JLS-JLB Document 3 Filed 09/21/16 PageID.13 Page 1 of 1



                                                                                   1    Alex Asil Mashiri, Esq. (SBN 283798)
                                                                                        MASHIRI LAW FIRM
                                                                                   2    A Professional Corporation
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                                                                                        San Diego, CA 92150
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                                                                                   5    Fax: (858) 348-4939
                                                                                   6    Attorney for Plaintiff:
                                                                                   7    HEMIN MIRAN
                                                                                   8
                                                                                                              UNITED STATES DISTRICT COURT
                                                                                   9
                                                                                                            SOUTHERN DISTRICT OF CALIFORNIA
                                                                                   10
                                                                                        HEMIN MIRAN                          ) Case No. 16-CV-2058-JLS-JLB
                                                                                   11
                                                                                                                             )
                                                                                   12                Plaintiff,              )
                                                11251 RANCHO CARMEL DR. # 500694




                                                                                               v.                            ) NOTICE OF SETTLEMENT
                   A PROFESSIONAL CORPORATION




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MASHIRI LAW FIRM




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                                                       SAN DIEGO, CA 92150

                                                        FAX: (858) 348-4939
                                                        TEL: (858) 348-4938




                                                                                   14   AD ASTRA RECOVERY SERVICES,          )
                                                                                   15
                                                                                        INC.                                 )
                                                                                                                             )
                                                                                   16                 Defendant.             )
                                                                                   17
                                                                                        ____________________________________ )

                                                                                   18         NOTICE IS HEREBY GIVEN that Plaintiff HEMIN MIRAN and Defendant
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                                                                                        AD ASTRA RECOVERY SERVICES, INC. have reached a settlement. Plaintiff
                                                                                   20
                                                                                        anticipates filing a motion dismissing the entire case with prejudice within 60 days.
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                                                                                   22   Respectfully submitted,
                                                                                   23
                                                                                        DATED: September 21, 2016                    MASHIRI LAW FIRM
                                                                                   24                                                A Professional Corporation
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                                                                                                                                     By: /s/ Alex Asil Mashiri
                                                                                   26                                                Alex Asil Mashiri
                                                                                                                                     Attorney for Plaintiff,
                                                                                   27
                                                                                                                                     HEMIN MIRAN
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                                                                                                                       NOTICE OF SETTLEMENT
